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IN THE UNITED STATES DISTRICT _COURT
FOR THE EASTERN DISTRICT OF TEXAS
TYLER DIVISION

TINNUS ENTERPRISES, LLC and ZURU LTD.,
Plaintiffs,

Case No. 6:16~cV-00033-RWS-JDL

V. (Lead Case)

TELEBRANDS CORP. and BULBHEAD.COM,
LLC,

Defendants.

 

TINNUS ENTERPRISES, LLC and ZURU LTD.,

Plaintiffs, Case No. 6:16-cV-00034-RWS-JDL
(Consolidated With Lead Case)
v.

BED BATH & BEYOND INC., FRY’S
ELECTRONICS, THE KROGER COMPANY,
SEARS HOLDING CORPORATION, and
WALGREENS BOOTS ALLIANCE, INC.,

Defendants.

 

 

VERDICT FORM
In answering these questions, you are to follow all Of the instructions given in the Court’s
charge As used in this forrn:
0 “Defendants” means Telebrands Corp. (“Telebrands”), Bulbhead.com, LLC (“Bulbhead”),
Bed Bath & Beyond Ine. (“Bed Bath”), Fry’s Electronics (“Fry’s”), The Kroger Company
(“Kroger”), Sears Holding Corporation (“Sears”), and Walgreens Boots Alliance, Inc.

(“Walgreens”);

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¢ “Plaintiffs” means Tinnus Enterprises, LLC and Zuru Ltd.; “Telebrands” means
Telebrands and Bulbhead;

¢ “Retailers” means Bed Bath, Fry’s, Kroger, Sears, and Walgreens;

v “the ’749 patent” means U.S. Patent No. 9,242',749;

¢ “the ’282 patent” means U.S. Patent No. 9,315,282; and

0 “patents-in-suit” means both the ’749 patent and the ’282 patent.

Question No. 1:

Did Plaintiffs prove by a preponderance of the evidence that any of the Defendants listed

below infringed claim l of the ’749 patent? Answer YES or NO.

Telebrands Yes \/(i,§ No
Bed Bath Yes v()_ § No
Fry’s ’ Yes z@§ No ,
Kroger Yes \/(§i § No
Sears Yes Z€§ No
Walgreens Yes y€§ No

Question No. 2:

Did Defendants prove by clear and convincing evidence that claim l of the ’749 patent is

invalid? Ansvver YES or NO.

The ’749 patent Claim l: NO

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Question 3:

Did Defendants prove by clear and convincing evidence that the following asserted claims

of the ’282 patent are invalid? Answer YES or NO.

The ’282 patent: Claim l: NQ Claim 2: i\i C? Claim 3: N 63

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Questions 4-5:
ANSWER THESE QUESTIONS ONLY IF:

A. YOU HAVE FOUND THAT A DEFENDANT INFRINGES CLAIM 1 OF THE ’749
PATENT (YES TO QUESTION 1) AND THAT CLAIM 1 OF THE ’749 PATENT
IS NOT INVALID (N 0 TO QUESTION 2)
OR
B. Y()U HAVE FOUND THAT AT LEAST ONE CLAIM OF THE ’282 PATENT IS

NOT INVALID (N 0 TO QUESTION 3)

OTHERWISE, STOP AND DO NOT ANS\VER ANY MORE QUESTIONS AND GO TO `

CONCLUSION OF DELIBERATIONS ON lLAST PAGE.

Question 4a:

What lost profits, if any, did Plaintiffs prove by a preponderance of the evidence that
Plaintiffs suffered as a result of sales it Would, with reasonable probability, have made but for
Telebrands’s infringement?

Answer in dollars and cents

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Question 4b:

What amount, if any, have Plaintiffs proved by a preponderance of the evidence they are

entitled to as a reasonable royalty as a result of Telebrands’s infringement?

Answer in dollars and cents

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Question 4c:

What sum of money do you find from a preponderance of the evidence would fairly and
reasonably compensate Plaintiffs for the Retailers’ infringement through the time of trial?
Answer in dollars and cents
s to”l| C)C)O
Question Sa:
Did Plaintiffs prove by a preponderance of the evidence that Telebrands’s infringement

' was Willful‘? Check YES or NO.

Yes 26 C;' No

Question Sb:

Did Plaintiffs prove by a preponderance of the evidence that the Retailers’ infringement

>

was Willful? Check YES or NO.

Bed Bath Yes \/@§ No
Fry’s Yes \/c;§ No
Kroger Yes 165 No
Sears Yes Yti§ No

Walgreens Yes Z'Q/§ No l

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CONCLUSION OF DELIBERATIONS

You have now reached the end of the verdict form and should review it to ensure it
accurately reflects your unanimous determinations The jury foreperson should then sign and date
the verdict form in the spaces below and notify the Court Security Officer that you have reached a
verdict. The jury foreperson should retain possession of the verdict form and bring it when the Jury

is brought back into the courtroom.

signedthis 2dl day Of Na)\/Q,mt<;@_r ,2017.

 

 

Jury Fo leperson

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